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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON

ROTHSCHILD PATENT                   §
IMAGING LLC,                        §               Case No: 3:22-cv-01212-MO
                                    §
      Plaintiff,                    §               PATENT CASE
                                    §
vs.                                 §               JURY TRAIL DEMANDED
                                    §
ON1, INC.,                          §
                                    §
      Defendant.                    §
___________________________________ §

                          JOINT STIPULATION OF DISMISSAL

      Plaintiff Rothschild Patent Imaging LLC, and Defendant ON1, Inc., by their respective

undersigned counsel, hereby STIPULATE and AGREE as follows:

        1.    All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

 all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

 Fed. R. Civ. P. 41(a)(1)(A)(ii);

        2.    Each party shall bear its own costs and attorneys’ fees with respect to the matters

 dismissed hereby;

        This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: September 30, 2022.          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

          I hereby certify that on September 30, 2022, I electronically transmitted the foregoing
 document using the CM/ECF system for filing, which will transmit the document electronically
 to all registered participants as identified on the Notice of Electronic Filing, and paper copies
 have been served on those indicated as non-registered participants.

                                             /s/ Conner G. Spani
                                             Conner G. Spani




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